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               DISTRICT COURT OF THE VIRGIN ISLANDS
               DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )
                v.                   )    Criminal No. 2016-39
                                     )
DRUE WILLIAMS, III,                  )
                                     )
                Defendant.           )
                                     )

ATTORNEYS:

Ronald Sharpe, United States Attorney
Delia L. Smith, AUSA
United States Attorney’s Office
St. Thomas, VI
     For the United States of America,

Darren John-Baptiste
St. Thomas, VI
     For defendant Drue Williams, III.


                                  ORDER
GÓMEZ, J.

      Before the Court is the application of Drue Williams, III

(“Williams”) to waive his speedy trial. For the reasons stated

herein, the time to try this case is extended up to and

including February 14, 2017.

      While the Speedy Trial Act requires that a defendant be

tried within seventy days of indictment, the Court specifically

finds that extending this period would be in the best interest

of justice for several reasons.      First, an extension is

necessary to allow Williams additional time to confer with his
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attorney given his attorney is located on St. Thomas and

Williams is located in Pittsburgh, Pennsylvania.           Second, the

defendant made this request with the advice and consent of

counsel.    Third, without an extension, the parties would be

denied reasonable time necessary to explore plea options and

prepare for trial.

      Consistent with these concerns, the United States Court of

Appeals for the Third Circuit has recognized that "whether or

not a case is 'unusual' or 'complex,' an ends of justice

continuance may in appropriate circumstances be granted."

United States v. Fields, 39 F.3d 439, 444 (3d Cir. 1994)(citing

United States v. Dota, 33 F.3d 1179(9th Cir. 1994)("An ends of

justice continuance may be justified on grounds that one side

needs more time to prepare for trial . . . even though a case is

not complex")); see also United States v. Brooks, 697 F.2d 517,

522 (3d Cir. 1982), cert. denied, 460 U.S. 1071(1983)(no abuse

of discretion where district court found that          multiple count,

multiple defendant "case was complex and required additional

time for adequate preparation."); United States v. Lattany, 982

F.2d 866, 883 (3d Cir. 1992)("district court did not abuse its

discretion [by delaying trial] to give counsel . . . opportunity

to . . . decid[e] upon and prepar[e] an appropriate defense.").

      The premises considered; it is hereby
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      ORDERED that the time beginning from the date of this order

granting an extension through February 14, 2017, shall be

excluded in computing the time within which a trial must be

initiated pursuant to 18 U.S.C. § 3161.



                                        S\
                                                Curtis V. Gómez
                                                District Judge
